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                     UNITED STATES DISTRICT COURT
                           GENERAL MINUTES

Case # 4:19cv212-MW/MAF                      Date: February 9, 2021

                       HARVARD et al -vs- INCH, et al

DOCKET ENTRY: Telephonic Motion Hearing Held                  10:40 - 11:12 am

Court grants in part and denies in part the parties emergency motions, ECF
Nos. 241 and 242.

Court stays Magistrate Judge Fitzpatrick’s Order, ECF No. 240, filed 2/8/21
pending review by District Judge.

Scheduled Hamilton and Union CI inspections shall go forth. Judge
Fitzpatick’s Order, ECF 240, will not apply for these inspections but the
previous Rule 34 Rule stipulation.


PRESIDING: Mark E. Walker, Chief United States District Judge

          Angie Maxwell                          Megan Hague
       Courtroom Deputy Clerk                    Court Reporter


Attorney Present for Plaintiffs              Attorney Present for Defendants
Kelly Knapp                                  Nicole Smith


Proceedings:
